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 1                                   UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4     Marc A. Earley,                                      Case No. 2:23-cv-01960-JAD-EJY
 5                     Plaintiff,
 6            v.                                                           ORDER
 7     NDOC, et al.,
 8                     Defendants.
 9

10           On June 21, 2024, the Court received mail sent to Plaintiff’s address on record stating

11    Plaintiff is no longer incarcerated at HDSP. ECF No. 4. The Court finds Plaintiff’s June 14, 2024

12    letter shows Plaintiff is now housed at Northern Nevada Correctional Center. ECF No. 3. The

13    Nevada Department of Corrections inmate database also shows Plaintiff is incarcerated in the

14    Northern Nevada Correctional Center.

15           Accordingly, IT IS HEREBY ORDERED that the Clerk of the Court must update the

16    docket to reflect Plaintiff’s current address of: Northern Nevada Correctional Center, P.O. Box

17    7000, Carson City, NV 89702.

18           IT IS FURTHER ORDERED that the Clerk of Court must send Plaintiff a copy of the

19    Court’s Minute Order, ECF No. 3, to his Northern Nevada Correctional Center address.

20           DATED this 15th day of July, 2024.
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23                                                ELAYNA J. YOUCHAH
                                                  UNITED STATES MAGISTRATE JUDGE
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